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 1                                                              The Honorable Michelle L. Peterson

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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE
 8   WILD FISH CONSERVANCY, a Washington                                     No. 2:20-cv-0417-MLP
     non-profit corporation,
 9
                             Plaintiff,                 INTERVENOR-DEFENDANT ALASKA
10                                                      TROLLERS ASSOCIATION’S ANSWER
              v.                                        TO PLAINTIFF’S COMPLAINT
11
     BARRY THOM, in his official capacity as
12   Regional Administrator of the National Marine
     Fisheries Service; CHRIS OLIVER, in his
13   official capacity as the Assistant Administrator
     for Fisheries of the National Marine Fisheries
14   Service; NATIONAL MARINE FISHERIES
     SERVICE; WILBUR ROSS, JR., in his official
15   capacity as Secretary of the United States
     Department of Commerce; and UNITED
16   STATES DEPARTMENT OF COMMERCE,
17                           Defendants.
              and
18
     ALASKA TROLLERS ASSOCIATION,
19
                             Intervenor-Defendant.
20

21            Intervenor-Defendant Alaska Trollers Association (hereinafter "Intervenor") hereby
22   answers Plaintiff’s Complaint (“Complaint”) (Dkt. 1) filed on March 18, 2020, as set forth
23   below:
24   I.       INTRODUCTION
25            1.       Admit, but 1995 was the year of the highest recorded population of Southern
26   Resident Killer Whales (SRKW) since 1977 when regular counts began. The population then


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 1   declined, but it has remained steady for many years and most recent data shows a slowly

 2   increasing population.

 3          2.       In response to paragraphs 2 through 4 of the Complaint, inclusive, Intervenor has

 4   insufficient information and knowledge with which to form a belief regarding individual past

 5   members of the Southern Resident Killer Whales (SRKW) and therefore denies those

 6   allegations. Intervenor admits that the availability of salmon in some areas of the SRKW range

 7   may be one of the many factors affecting these whales, depending upon where they are and at

 8   what times.    The balance of paragraphs 2-4 contain conclusory statements and qualitative

 9   assessments, which Intervenor disputes or has insufficient knowledge and information with

10   which to form a belief and therefore denies those allegations. There is considerable debate in the

11   scientific literature over which factors "most affect" and have "reproductive success" for the

12   SRKW population.         For instance, several studies note that whales in this population have

13   bioaccumulated extremely large amounts of PCBs and other contaminants and toxins within their

14   bodies that directly and adversely affect reproductive success.     Other studies note that this

15   SRKW population has declined since its peak as a result of the cumulative (and often

16   synergistic) effects of multiple factors, not one of which is necessarily determinative and which

17   operates over both short- and long-term timeframes, not the least of which was the capture/death

18   of approximately 275 SRKW in the 1960s and 1970s. Other studies suggest there is a lack of

19   female SRKWs and too much marine mammal competition for Chinook from other marine

20   mammal populations including seals, Northern Resident Killer Whales and Stellar Sea Lions.

21   Intervenor denies there is a correlation between Chinook abundance and the SRKW population.

22          3.       In response to paragraph 5 of the Complaint, Intervenor believes that the

23   allegations made in the first two sentences are generally correct, but denies the remainder of the

24   paragraph. Plaintiff, however, omits the fact that the fishery management process for salmon is

25   conducted on an annual cycle basis and uses, and has used, the best available scientific

26   information each year to assess and manage the fisheries within its jurisdiction, including


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 1   annually assessing and mitigating the impacts of those fisheries on SRKW and other ESA-listed

 2   marine species. Intervenor denies that the Pacific Salmon Treaty actually sets an upper limit on

 3   harvest.

 4          4.       Intervenor admits paragraph 6.

 5          5.       Intervenor denies paragraph 7.    The allegations made are merely conclusory

 6   characterizations of Plaintiff's arguments that are based upon Plaintiff's prior conclusory

 7   statements, summaries or conclusions of law, none of which have yet been proven. Intervenor

 8   disputes that the closure of the troll salmon fishery conducted in the exclusive economic zone

 9   (EEZ) of southeast Alaska will contribute to recovery of the Chinook salmon evolutionary

10   significant units that are listed as threatened under the ESA. Chinook salmon migrate in the

11   millions throughout thousands of miles of ocean coastline, in multiple regions, although they

12   spend the vast majority of their life span in Alaska waters. The relatively small number of

13   Chinook salmon commercially harvested in the EEZ of southeast Alaska bears little to no

14   relationship to the number of Chinook salmon listed under the ESA, especially for Puget Sound

15   salmon.

16          6.       Paragraph 8 of the Complaint contains allegations that purport to be statements

17   from the 2019 SEAK Biological Opinion (BiOp). The actual BiOp speaks for itself and requires

18   no response. Intervenor denies that the harvest of Chinook salmon in the southeast Alaska troll

19   fishery contributed to any problem with SRKW growth rates. Further, characterizations of

20   statements made within the 2019 SEAK BiOp are taken out of context and are misleading or

21   constitute conclusions of law, none of which have, as yet, been proven. Intervenor therefore

22   denies those allegations.

23          7.       Intervenor denies paragraphs 9-13 of the Complaint.

24   II.    PARTIES

25          8.       Paragraphs 14-19 contain allegations about Plaintiff Wild Fish Conservancy and

26   its members. Intervenor has insufficient knowledge and information with which to form a belief


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 1   and therefore denies those allegations.

 2          9.       Paragraphs 20-24 are allegations concerning the identity of the Defendants and

 3   their respective roles and responsibilities concerning fisheries management and duties. To the

 4   extent those allegations contain conclusions of law, no response is required. Any allegations that

 5   are not conclusions of law appear to be generally correct and are admitted.

 6   III.   JURISDICTION AND VENUE

 7          10.      Paragraphs 25 and 26 of the Complaint contain allegations to which no response

 8   is required because the allegations purport to be statements, summaries, or conclusions of law, or

 9   characterizations of Plaintiff's legal contentions and are denied on that basis.

10          11.      Paragraph 27's conclusory statements and facts concerning Defendant's actions

11   are denied. Further, Intervenor denies that the Western District of Washington is the most

12   appropriate venue for this action.

13   IV.    FACTS

14          12.      Paragraphs 28-63 purport to be statements of provisions of the Endangered

15   Species Act (ESA), the National Environmental Policy Act (NEPA), the Magnuson-Stevens Act

16   and the Administrative Procedure Act (APA), as well as statements about certain provisions of

17   either applicable statutes within those Acts or regulations adopted under the Acts or from

18   decisions that have interpreted them from various courts. As they are all conclusions of law, no

19   response to these allegations is required. Further, because the allegations are incomplete; i.e.,

20   they do not set forth all of the provisions of the various federal Acts, regulations or cited cases,

21   they are necessarily selective and misleading insofar as they imply or suggest that there are no

22   other provisions in the law, regulations, or case law that further elaborate upon, supplement,

23   modify or even contravene allegations made and for that reason as well they are denied.

24          13.      Intervenor admits paragraphs 64 and 65.

25          14.      Paragraph 66 appears to accurately state what is generally known about the

26   historic migratory patterns of the SRKW, but Intervenor has insufficient knowledge and


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 1   information upon which to form a belief as to whether the allegations made remain factually

 2   accurate or have been scientifically proven to be true or may have changed. Intervenor therefore

 3   denies paragraph 66.

 4          15.     Paragraph 67 is a partial characterization of the 2008 ESA Recovery Plan for

 5   SRKW, but because the characterizations made are selective and incomplete, the characterization

 6   of the Plan generally is misleading and is therefore denied.

 7          16.     Intervenor admits the first sentence of paragraph 68, but has insufficient

 8   knowledge or information upon which to form a belief and therefore denies the remaining two

 9   sentences, especially since they are conclusory and argumentative.

10          17.     Paragraph 69 is argumentative and contains allegations about the responsibilities

11   and actions of NMFS and other federal agencies and is therefore denied.

12          18.     Intervenor admits that the various populations of killer whales, including the

13   southern resident population, have distinctive characteristics, but otherwise denies paragraph 70.

14          19.     Intervenor denies paragraphs 71, 72, and 73, especially to the extent that

15   allegations made in those paragraphs are intended to suggest that all scientists who have

16   participated in studies of the SRKW or any aspect of its life cycle, status, and health are in

17   agreement. They are not.

18          20.     Intervenor admits that Chinook salmon are the largest Pacific salmon, but

19   otherwise denies paragraph 74.

20          21.     Intervenor admits paragraphs 75-79 and 82.              Intervenor has insufficient

21   information and knowledge upon which to form a belief and therefore denies paragraphs 80 and

22   81.

23          22.     Intervenor denies paragraph 83.

24          23.     Paragraphs 84 is a conclusion of law relating to the 2018 Fishery Management

25   Plan and the Pacific Salmon Treaty to which no response is required.

26          24.     Intervenor denies paragraph 85-87.


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 1          25.      Intervenor admits paragraphs 88-89.

 2          26.      Intervenor admits paragraph 90.

 3          27.      Intervenor admits the first sentence of paragraph 91, but denies the remainder of

 4   paragraph 91.

 5          28.      Paragraph 92 is argumentative, false in part, selective in its allegations,

 6   conclusory and misleading. Intervenor accordingly denies paragraph 92.

 7          29.      Intervenor denies paragraph 93.

 8          30.      Intervenor admits that the 2019 SEAK BiOp and incidental take statement

 9   authorizes incidental take of some ESA listed species from fisheries in the EEZ of southeast

10   Alaska. Except as so admitted, paragraph 94 is denied.

11          31.      Intervenor denies paragraph 95.

12          32.      Paragraphs 96, 97, and 98 are conclusory and selective characterizations of the

13   2019 SEAK BiOp. They are misleading and are therefore denied.

14          33.      Intervenor denies paragraphs 99-108.

15          34.      Intervenor admits the first two sentences of paragraph 109, but has insufficient

16   knowledge or information upon which to form a belief and therefore denies the remainder of

17   paragraph 109.

18          35.      Intervenor denies paragraphs 110-112.

19          36.      Intervenor has insufficient knowledge or information upon which to form a belief

20   and therefore denies paragraph 113.

21          37.      Intervenor denies paragraphs 114-119 of Plaintiff's Complaint.

22          38.      In the remaining allegations of the Complaint, Plaintiff sets forth its prayer for

23   relief to which no response is required. However, Intervenor denies that any of the requested

24   relief would redress the alleged harms complained of by Plaintiff.

25          39.      Defendants and other government agencies in the US and Canada and other

26   persons and entities are actively engaged in pursuing measures to preserve, protect and enhance


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 1   the existing SRKW population.         Any court-ordered additional mitigation matters would be

 2   counterproductive and inflict severe economic suffering and job losses on southeast Alaska

 3   coastal fishing families and the communities in which they live far out of proportion to any

 4   conservation benefits for SRKW population that a widespread fishery closure in southeast

 5   Alaska would provide. The balance of harms would certainly not favor such an injunction. Both

 6   Washington state and British Columbia, where the SRKW population feeds part of each year,

 7   have already taken major steps to protect SRKW habitat and to provide additional Chinook

 8   salmon through special hatchery and outplanting programs, which will benefit the SRKW

 9   population. Additional actions have been recently legislated in Washington State to reduce

10   vessel noise and other sources of noise pollution on SRKW, as well as to reduce the amount of

11   pollutants the SRKW population is exposed to, both factors that cannot be addressed through

12   fisheries management alone. In short, multiple actions to benefit SRKW and to improve their

13   chances of survival are already being undertaken, with far better long-term results likely to be

14   achieved from these actions than any reductions in the southeast Alaska troll fishery could

15   provide.

16                                      AFFIRMATIVE DEFENSES

17          1.       Plaintiff's claims are barred based upon lack of subject matter jurisdiction.

18          2.       Plaintiff's claims are barred for failure to allege sufficient facts and state claims

19   upon which relief can be granted.

20          3.       Venue is improper.

21          4.       Plaintiff's claims are barred because Plaintiff has failed to join parties under Rule

22   19.

23          5.       Plaintiff lacks standing.

24          WHEREFORE, Defendant-Intervenor Alaska Trollers Association prays for judgment

25   against the Plaintiff and for its costs and disbursements incurred herein and for such other and

26   ///


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 1 further relief as the Court deems just and equitable.

 2          Dated this 28th day of April 2020.

 3                                                s/ Thane W. Tienson
                                                  Thane W. Tienson, WSBA #13310
 4                                                Email: ttienson@lbblawyers.com
                                                  Attorneys for Intervenor-Defendant
 5                                                Alaska Trollers Association
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 1                                CERTIFICATE OF SERVICE

 2         I hereby certify that on April 28, 2020, I served the foregoing INTERVENOR-

 3   DEFENDANT ALASKA TROLLERS ASSOCIATION’S ANSWER TO PLAINTIFF’S

 4   COMPLAINT on the following individual(s):

 5   Brian A. Knutsen                             Paul A. Kampmeier
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 9   Eric A. Lindberg                             Frederick H. Turner
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                                                  coby.howell@usdoj.gov
19

20      by the Court’s CM/ECF system to the email addresses listed above
        by facsimile pursuant to the fax numbers listed above
21      by email to the email addresses listed above
        by overnight delivery to the addresses listed above
22      by first class mail to the addresses listed above.
23

24                                             s/ Kathy Baker
                                               Kathy Baker, Legal Assistant to Thane W. Tienson
25                                             Of Attorneys for Intervenor-Defendant Alaska
                                               Trollers Association
26


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